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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF MARYLAND
                                     (Baltimore Division)

IN RE:                                           §
                                                 §   Case No. 21-11670-NVA
ROB’S TOWER MOTORS SALES &                       §
SERVICE OF TANEYTOWN, LLC,                       §
                                                 §   CHAPTER 11
      Debtor                                     §   (Subchapter V)
                                                 §

                      ORDER DENYING USE OF CASH COLLATERAL

         The Court heard the Motion for Interim Use of Cash Collateral [Docket # 7] (the “Motion”)

brought by Rob’s Tower Motors Sales & Service of Taneytown, LLC to Use Cash Collateral, the

(“Debtor”), pursuant to Sections 361, 363, and 552 of the United States Bankruptcy Code and Rule

4001(b) of the Federal Rules of Bankruptcy Procedure. Based on the Motion, the argument of

counsel, the evidence presented at the hearing on April 12, 2021, the Court finds as follows:

         IT IS HEREBY ORDERED that the Debtor’s Motion is DENIED and that Debtor is not

entitled to use of any claimed or potential cash collateral pursuant to section 363(c) of the

Bankruptcy Code.

                                      ###SO ORDERED###


ORDER DENYING USE OF CASH COLLATERAL –                                                          Page 1
